                    Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 1 of 11




                                            Commonwealth of Massachusetts

           MIDDLESEX.SS.                                                TRIAL COURT OF THE COMMONWEALTH
                                                                        SUPERIOR COURT DEPARTMENT
                                                                        CIVIL DOCKET NO. -:Z !£iC"J/(,1(}3j~

           Clv:c'k;;.. Lo. Qo. /                 , PLAINTIFF(S),

           v.
           (J /YIN; I~ ~15 ;Ji,;.,. ¥'11(;;/(, DEFENDANT(S)
                ~                     I      .

            (• <.11"/J(jf'::tf,, :;11./                            SUMMONS


           THIS SUMMONS IS DIRECTED TO UtYI               111/,Jh'\te6/17e/I a'j/1?_,. (Defendant's name)
           You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
           Plaintiff's Complaint,fil d against you is attached to this summons and the original complaint has been
           filed in the /£-. r'' (JV, t . ~ ~ · ,_,.. , .. j: '·Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.


1.        . You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
           the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
           opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
           to resolve this matter with the Plaintiff. If you need more time to respond, you may request an
           extension of time in writing from the Court.
2.         How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a
           copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by: ~,.
     a.    Filing your signed original response with the Clerk's Office for Civil Business,     /i;(l/;1~K'   Court,
           _ _ _ _ _ _ (address), by mail or in person, AND
     b.    Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following
           address: !}.,}/ ,/;;1;~,,)« M .)", /ct2 )tp,,.,d.,,,~/f/( C:):;ir"cPcf
3.         What to include in your response. An "Answer" is one type of response to a Complaint. Your Answer
           must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
                                                                                                                          .. ~~-
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           use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
           based on the same facts or transaction described in the Complaint; then you must include those claims
           in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
           lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
           Answer or in a written demand for a jury trial that you must send to the other side and file with the
           court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
           "Motion to Dismiss," if you believe that the complaint is legally invalid or legally insufficient. A Motion
           to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
           you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
           described in the rules of the Court in which the complaint was filed, available at
           www.mass.gov.courts/case-legal-res/rules of court.
            Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 2 of 11



4.   Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
     information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
5.   Required information on all filings: The "civil docket number" appearing at the top of this notice is the
     case number assigned to this case and must appear on the front of your Answer or Motion to Dismiss.
     You should refer to yourself as the "Defendant."

     Witness Hon. Judith Fabricant, Chief Justice on _ _ _ _ _ _ _ _ , 20_.




     ---~;;g_t7_:9{Q(~_
          ~~
     Mic ael A.
                        --- ----------
                           .......:.

     C erk-Magistrate



     Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the
     summons before it is served on the Defendant.




                                           PROOF OF SERVICE OF PROCESS

               I hereby certify that on _ _ _ _ _ _ _ _ _ _ , 20_, I served a copy of this summons,
     together with a copy of the complaint in this action, on the defendant named in this summons, in the
     following manner (See Mass. R. Civ. P. 4(d)(1-5)):




     Dated: _ _ _ _ _ _ _ _ _ _ , 20 __                                Signature: _ _ _ _ _ _ _ _ _ _ _ __



     N.B.     TO PROCESS SERVER:


               PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.




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                                                                                                       /"-' '~-
          Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 3 of 11
                                                                                               l
                                                                                               I
                                                                                               i .




                        COMMONWEALTH OF MASSACHUSETTS
                                                                                       I
MIDDLESEX, ss                                                SUPERIOR COURT DEP'U.
                                                             C.A.#:              :

***************************
CHRISTINA LADANY,
            Plaintiff,

v.

OMNI HOTELS MANAGEMENT
CORPORATION,
            Defendant,
****************************

                                          COMPLAINT

     1. The Plaintiff, Christina Ladany, (hereinafter "Plaintiff'), is an individual with a :
        residential address of 17 Small Lane, Reading, Middlesex County, Massachusbtts.:
                                                                                           I       i
     2. The Defendant, Omni Hotels Management Corporation, is registered with the ~ecr~tary
        of State in Massachusetts as a for-profit "Foreign Corporation" with a principa!l pl~ce of
        business at 4001 Maple Avenue Suite 600, Dallas, Texas.                              '

     3. The Registered Agent of Omni Hotels Management Corporation is Corporation Service
        Company. located at 84 State Street, Suffolk County Boston, Ma.;            '


                                              FACTS

     4. The Plaintiff incorporates, by reference, paragraphs one through three of this complaint,
        herein.

     5. On or about March 8, 2018, the Plaintiff, Christina Ladany was employed by Freenian
        Companies as a Manager of Audio-Visual services;                            I.                 1




     6. As of March of2018; the plaintiffs employer had contracted with Boston oml HJtels to
        provide audio visual services and to coordinate the set up and breakdown of tedhnoiogy
        and audio visual equipment for special events held at the Hotel, located at 60 S~hoql
                                                                                            I
        Street, Boston, Ma.;
        Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 4 of 11




   7. As of March 8, 2018, the Plaintiff worked for her employer at the Boston Omni Hotel,
      where she worked as the Manager of Audio Visual Services and Coordinator of special
      ~~~~H~;                                                                                  !
           (                                                                                   II


   8. As of March 8,2018, the Plaintiffs responsibilities included the coordination of aµdio-
      visual services and the coordination and management of the set up and breakdown of            I

      equipment for special events within the hotel;                                                'I,




                                                                                                    I.

   9. As of March of2018, the Defendant Omni Hotels Management Corporation »'as                       !,


      responsible for the management and maintenance of the hotel property described herein
      and this property was under its care and control;                          \ !

   10. On March 8, 2018, in the morning hours, as the Plaintiff walked with due car~ and
       caution through the area known as the Grand Ballroom following a special evbnt Which

                                                                                           r
       had occurred there, she was caused to fall over a pile of broken glass which h~d been
       negligently left by the employees of the defendant on a ramp which served as w~kway;

   11. Due to the fall, the plaintiff fell on her left side, causing severe injuries to her left knee
       and severe lacerations to her right hand;                                                 \
                                                                                                           I




                            COUNT I - NEGLIGENCE

     Plaintiff Christina Ladany vs. Defendant Omni Hotels Management Corporati6n
                                                                                                           I
                                                                                                           :
                                                                                                               I

   12. The Plaintiff incorporates, by reference, paragraphs one through eleven of this coniplaint,
       herein.                                                                        \                        '1




                                                                                                                1


   13. Upon information and belief, the location at which the Plaintiff was caused to fall was
       managed, maintained and 'Jllder the control of Defendant Omni Hotels ManagJme4t
       Corporation                                               ·                     \ i

   14. The defendant, Omni Hotels Management Corporation owed a duty to the Plaihtiff; who
       was employed within the premises and was a business invitee at the property. \ :

   15. Defendant Omni Hotels Management Corporation breached this duty when it failed to
       safely and properly maintain the area at which the Plaintiff was caused to fall. \                           i,




   16. As a direct and proximate cause of this breach b the defendant, the Plaintiff wak caused to
       suffer severe personal injuries, pain and suffering, and incurred medical expen~es. :     .
                                                             ,                               I ',
WHEREFORE, the Plaintiff, Christina Ladany, hereby demands judgment against Defend~nt,
Omni Hotels Management Corporation, together with interest and costs, as well as any other
                                                                                                                         1
relief this Honorable Court deems just and proper.
                                                                        I I

       Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 5 of 11



THE PLAINTIFFS DEMANDS A TRIAL BY JURY ON ALL COUNTS OF THIS
COMPLAINT, WHERE ALLOWED BYLAW.


                                         Respectfully submitted,
                                         Plaintiff, Christina Ladany,
                                         by her Attorneys,




                                         Daniel J oyn          (BBO# 546~46) :
                                                 .     sell, (BBO #568943D
                                                  ice of Daniel J. Moynih~, PC
                                         271 Main Street, Suite 302      I
                                         Stoneham, MA 02180
                                         (781) 438-8800
                                         moynihanlaw@verizon.net
DATE; 2/19/21



                                                                              i
                                                                              I
                                                                              !
                                   Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 6 of 11

                                                                                    DOCKET NUMBER
                                                                                                                                                       Trial Court of Massachusetts
                                                                                                                                                       The Superior cburt 1
         CIVIL ACTION COVER SHEET
                                                                                                                                                                                     I            1


PLAINTIFF(S):            CHRISTINA LADANY                                                                                                      COUNTY
                                                                                                                                                               Middlesex
ADDRESS:                  17 SMALL LANE

                                                                                                                                                                                     I
READING, MA.                                                                                                 DEFENDANT(S):              OMNI HOTELS MANAGMENT CORPORATION
                                                                                                                                                                                     I




ATIORNEY:                 DANIEL J. MOYNIHAN

ADDRESS:                  217 MAIN STREET SUITE 302                                                          ADDRESS:                    4001 MAPLE AVENUE, SUITE 600

STONEHAM, MA. 02180                                                                                          DALLAS, TEXAS




BBQ:                      546346

                                                            TYPE OF ACTION AND TRACK DESIGNATION (see reverse side)             '1
              CODE NO.                                  TYPE OF ACTION (specify)             TRACK              HAS A JURY CLAIM BEEN MADE?
        B 20                                TORT                                                                                 F                              [8]    YES       O No i
     *ff "Other" please describe:
                                                                                                                                                                                         I
               Is there a claim under G.L. c. 93A?                                                                           Is this a class action under Mass. R. Clv. P.                       23~
               DYES                  NO [8]                                                                                        DYES                 NO       [8]                               II
                                                                    STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A
                                                                                                                                                                                                      'I

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiffs counsel relies to determinJ money damages.
For this form, disregard double or treble damage claims; indicate single damages only.                                                            ;

                                                                                                     TORT CLAIMS
                                                                                         (attach additional sheets as necessary)
A. Documented medical expenses to date:




              ;~i~~~lf~~~:~~- i. .:>: __                                                               ••·••••••••••••••••·····••••·•••••••••i•·••••••••••·•••••••           ·      ·I· ! ~~·:::
                                                                                                                                                                                         !.. ..... ,
               5. Total other expenses (describe below) ..................................................................................................................................
                                                                                                                                                                               Subtotkl (A):
                                                                                                                                                                                                           $
                                                                                                                                                                                                           $ 3 7,609.69

B.   Documented lost wages and compensation to date ...............................................................................................................................\...... .
C.                                                                                                                                                                                       l.. ..
     Documented property damages to date .................................................................................................................................................                 $
D.   Reasonably anticipated future medical and hospital expenses ..............................................................................................................1. .... .                   $
E.                                                                                                                                                                                       !.. ... .
     Reasonably anticipated lost wages ........................................................................................................................................................            $



:::::,::::~:.:::~:J:::::::::.:.::~·:~.:,~;,:j::
 xxx still collecting therapy bills. Plaintiff sustained a left knee injury which resulted in multiple surgeries, including a total kneg
    ~i()...t!.e rt-(!..~
                                                                                                                                             I
                                                                                                                                         TOTAL (A-F):$ 500,000.00
                                                                                                                                                                                         l
                                                                        CONTRACT CLAIMS
                                                              (attach additional sheets as necessary)
  D  This action includes a claim involving collection of a dell! incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1 (a).
Provide a detailed description of claim(s):                                                                                                I   ,
                                                                                                                                        T0TAL:i$


Signature of Attomey/ Unrepresented Plalni;tf: X                                                                                                                                   DaJ: Fe61- 9-,-2-0-21--

RELATED ACTIONS: Please provide the case number, case n                                                            county of any related actions pending In the S\"er'I' Court.


                                               CERTIFICATION PURSUANT TO SJC RULE 1 :18                                     I                                                                I
I hereby certify that I have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that I provide my clients itfi in r~% out urt- onnected dispute resolution services and disduss with them the
advantages and disadvantages of the var· s meth         ~ te esolut' n.            dr                                  \    !
Signature of Attorney of Record: X                                                      ,,7                                                                                         Oat~: Fe? 19, 2021
                             Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 7 of 11
                                           CIVIL ACTION COVER SHEET INSTRUCTIONS
                                      SELECT CATEGORY THAT BEST DESCRIBES YOUR CASE
                                                                                                                                                          i
        AC Actions Involving the State/Municlpalit;y •                    ER Equitable Remedies                                               RP Real Property

    AA 1 Contract Action involving Commonwealth,              001 Specific Performance of a Contract         (A)             co1 Land Taking       1     i                    (F)
         Municipality, MBTA, etc.                (A)          D02 Reach and Apply                            (F)             C02
                                                                                                                                                   1
                                                                                                                                 Zoning Appeal, G.L. c. 40A                   (F)
    AB 1 Tortious Action involving Commonwealth,              D03 Injunction                                 (F)             C03 Dispute Concernirlg TWei                     (F)
          Municipality, MBTA, etc.               (A)          D04 Reform/ Cancel Instrument                  (F)             C04 Foreclosure of a Mortgag'e                   (X)
    AC1 Real Property Action involving                        DOS Equitable Replevin                         (F)             cos Condominium Lien & Charges                   (X)
         Commonwealth, Municipality, MBTA etc. (A)            DOB Contribution or Indemnification            (F)             C99 Other Real Property Action                   (F)
    AD1 Equity Action involving Commonwealth,                 D07 Imposition of a Trust                      (A)
         Municipality, MBTA, etc.                (A)          DOB Minority Shareholde(s Suit                 (A)                      MC Mlscel!anlcus dvu Actions
    AE1 Administrative Action involving
                                                                                                                                                     IProce~ding
                                                              D09 Interference in Contractual Relationship   (F)
         Commonwealth, Municipality, MBTA,etc. (A)            D1 OAccounting                                 (A)             E16 Foreign Discovery                            (X)
                                                              D11 Enforcement of Restrictive Covenant        (F)             E97 Prisoner Habeas Corpus !                     (X)
               CN Contract/Business Cases                     D12 Dissolution of a Partnership               (F)             E22 Lottery Assignmenl, G.L. ~. 10, § 2B         (X)
                                                              013 Declaratory Judgment, G.L. c. 231A         (A)
    A01 Services, Labor, and Materials              (F)       D14 Dissolution of a Corporation               (F)
                                                                                                                                                      I           :
                                                                                                                                    AB Abuse/Harassment Prevention
    A02 Goods Sold and Delivered
    A03 Commercial Paper
                                                    (F)
                                                    (F)
                                                              099 Other Equity Action                        (F)                                      I           ;
                                                                                                                             E1 S Abuse Prevention 17'etition', G.L. c. 209A (X)
    A04 Employment Contract                         (F)
    ADS Consumer Revolving Credit - M.R.c.P. a.1
                                                              PA Civil Actions lnvolvlhg Incarcerated Party    t             E21 Protection from Harassment, G.L. c. 2S6E(X)
                                                    (F)                                                                                               I           :
    A06 Insurance Contract                          (F)                                                                                            I      '
                                                              PA 1 Contract Action involving an                                       AA Administrative Cjvll Actions
    AOB Sale or Lease of Real Estate                (F)
    A 12 Construction Dispute                       (A)            Incarcerated Party
                                                              PB1 Tortious Action involving an
                                                                                                             (A)
                                                                                                                             E02 Appeal from   Adminlstrativ~       Agency,
    A14 lnterpleader                                (F)                                                                           G.L. c. 30A         !       ~               {X)
    BA 1 Governance, Conduct, Internal                             Incarcerated Party                        (A)
                                                                                                                             E03 Certiorari Action, G!L. c. 249, § 4          (X)
         Affairs of Entities                        (A)       PC 1 Real Property Action involving an
                                                                                                                             E05 Confirmation of Arb'itrationiAwards          (X)
                                                                   Incarcerated Party                        (F)
    BA3 Liability of Shareholders, Directors,
                                                              PD1 Equity Action involving an
                                                                                                                             EOB Mass Ant!trust Act,  'p.L. c. 93, § 9        (A)
         Officers, Partners, etc.                   (A)                                                                                                         1
                                                                                                                             E07 Mass Antitrust Act, G.L. c. 93, § B          (X)
                                                                   Incarcerated Party                        (F)
                                                                                                                             EOB Appointment of a R~ceiver
                                                                                                                                                                1
    BB1 Shareholder Derivative                      (A)                                                                                                                       (X)
                                                              PE1 Administrative Action involving an
    BB2 Securities Transactions                     (A)
                                                                   Incarcerated Party                        (F)             E09 Construction Sure~I' Bond,JG.L. c. 149,
    BC1 Mergers, Consolidations, Sales of                                                                                         §§ 29, 29A                    I             (A)
         Assets, Issuance of Debt, Equity, etc.     (A)                                                                      E1 o Summary Process ~ppeal (                    (X)
    BD1 Intellectual Property                       (A)                                                                      E11 Worker's Compensation                        (X)
    BD2 Proprietary Information or Trade
                                                              803 Motor Vehicle Negligence - Personal
                                                                                                                             E1 B Auto Surcharge Appeal         I             (X)
         Secrets                                    (A)                                                                      E17 Civil Rights Act, G.U. c.12, § 11 H          (A)
                                                                  Injury/Property Damage                     (F)
    BG1 Financial Institutions/Funds                (A)                                                                      E24 Appeal from District!Court i
    BH 1 Violation of Antitrust or Trade                      B04 Other Negligence - Personal
                                                                                                                                  Commitment, G.L. c.123, §i9(b)              (X)
         Regulation Laws                           (A)            Injury/Property Damage                     (F)
                                                                                                                             E2S Pleural Registry (Asbestos cases)    1




    A99 Other ContracVBusiness Action - Specify    (F)        BOS Products Liability                         (A)
                                                                                                                             E94 Forfeiture, G.L. c. 2GS, §SB                 (X)
                                                              80B Malpractice - Medical                      (A)
                                                                                                                             E9S Forfeiture, G.L. c. 94C, § 47                {F)
                                                              B07 Malpractice - Other                        (A)
                                                                                                                             E99 Other Administrative Action                  (X)
    * Choose this case type if ANY party is the               BOB Wrongful Death - Non-medical               (A)
                                                                                                                             Z01 Medical Malpractice - Tribunal only,
    Commonwealth, a municipality, the MBTA, or any            B15 Defamation                                 (A)
    other governmental entity UNLESS your case is a
                                                                                                                                  G.L. c. 231, §BOB               ~           (F)
                                                              819 Asbestos                                   (A)
                                                                                                                             Z02 Appeal Bond Denial               '           (X)
    case type listed under Administrative Civil Actions       820 Personal Injury - Slip & Fall              (F)                                                  I
    (AA).                                                     B21 Environmental                              (F)                                                          I
                                                                                                                                         SO Sex Offender Review
                                                              822 Employment Discrimination                  (F)
    t Choose this case type if ANY party is an                BE1 Fraud, Business Torts, etc.                (A)                                          I               .
                                                                                                                             E12 SDP Commitment, G.L. c. 123A, § 12           (X)
    incarcerated party, UNLESS your case is a case            B99 Other Tortious Action                      (F)
                                                                                                                             E14 SDP Petition, G.L. cJ 123A,:§ 9(b)           (X)
    type listed under Administrative Civil Actions (AA)
    or is a Prisoner Habeas Corpus case (E97).                   RP Summarv Process !Real Property!
                                                                                                                                        RC Restricted! Civil Actions
                                                              S01 Summary Process - Residential
                                                              S02 Summary Process - Commercial/
                                                                                                             (X)
                                                                                                                             E19 Sex Offender   Regis!~,
                                                                                                                                                       G.L.1c.6, § 176M (X)
                                                                                                                             E27 Minor Seeking Cons~nt, G.L. c.112, § 12S(X)
                                                                      Non-residential                        (F)
                                                                                                                                                          I
                                                          TRANSFER YOUR SELECTION TO THE FACE SHEET                                                       I

            EXAMPLE:
                                                                                                                                                          I
            CODE NO.                          TYPE OF ACTION (specify)                 TRACK                       HAS A JURY CLAIM BEEN MADE?
                                                                                                                   [8J YES              D NO
            803                   Motor Vehicle Negligence-Personal Injury



                                             STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A
DUTY OF THE PLAINTIFF - The plaintiff shall set fortl1, on the fac~ of the civil action cover sheet (or atta~h. add!tional s~eetsjas .nece~sary), a
statement specifying the facts on which the plaintiff relies to determine money damages. A copy of such c1v1I action cover sheet, including the
                                                                                                                            1
statement as to the damages, shall be served with the complaint. A clerk-magistrate shall not accept for filing a com plaint, except as
otherwise provided by law, unless it is accompanied by such a statement signed by the attorney or self-represehted ~itigant.

DUTY OF THE DEFENDANT - If the defendant believes that the statement of damages filed by the plaintiff is inadequatk, thJ. defendant may
file with his/her answer a statement specifying the potential damages which may result if the plaintiff prevails.                                             I i
                                    A CIVIL COVER SHEET MUST BE FILED WITH EACH COMPLAINT.     I
                              FAILURE TO COMPLETE THIS COVER SHEET THOROUGHL y AND A CC URATELYI
                                             MAY RESULT IN DISMISSAL OF THIS ACTION.
                                                                                                                                                              I


                                                                                                                                                              \
                                                                                             I 11.
                                   Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 8 of
                                                                                             I   I


            CIVIL TRACKING ORDER
                                                              DOCKET NUMBER
                                                                                     Trial Court of Massabhu~etts
                 (STANDING ORDER 1- 88)                        2181 CV00396          The Superior 9ourt \

                                                                                                             Cler~ of cburt
CASE NAME:
                                                                                      Michael A. Sullivan,
     Ladany, Christina vs. Omni Hotels Management Corporation
                                                                                       Middlesex County
                                                                                                                  I         II



ro: File Copy                                                                        COURT NAME & ADDRESS         I         '1
                                                                                       Middlesex County Superior Court - Woburn
                                                                                       200 Trade Center
                                                                                       Woburn, MA 01801




                                                          TRACKING ORDER - F - Fast Track
                  You are hereby notified that this case is on the track referenced above as per Superior aourt Standing
                                                                                                                  I                     .
   Order 1-88. The order requires that the various stages of litigation described below must be co~plet~d not later
   than the deadlines indicated.                                                                                  \
                                                                                                                  II

                   STAGES OF LITIGATION                                                     DEADLINE


                                                                                                  FILED BY

    Service of process made and return filed with the Court                                      05/24/2021

    Response to the complaint filed (also see MRCP 12)                                           06/23/2021

    All motions under MRCP 12, 19, and 20                                         06/23/2021     07/23/2021           I 08/f3'2021
    All motions under MRCP 15                                                     06/23/2021     07/23/2021            \ 08'f 3/2021

    All discovery requests and depositions served and non-expert
                                                                                 ' 12/20/2021
    depositions completed

    All motions under MRCP 56

     Final pre-trial conference held and/or firm trial date set

     Case shall be resolved and judgment shall issue by




                                                                                                                                 I
   The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at                a later time.
   Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing            retur~ of ~ervice.
   This case is assigned to



                                                                                                                                  !
  DATE ISSUED                           ASSISTANT CLERK                                                      PHONE                i
                                                                                                                        \
      02/23/2021                           Maria Pantos                                                          (781 )93~-2772
                                                                                                                                            SCV026\ 06/2018
 Oatemmc Printed: 02·23-2021 09:09:41
                        Case 1:21-cv-10662-FDS Document 1-3 Filed 04/21/21 Page 9 of 11
                                                                                                            i
                                                                                                            i
                                                                          Mark Russell <attyrussen.moyniharwrumall.com>

                                                                                                               I       I
      Filing Accepted for Case: 2181CV00396; 2181CV00396 ladany, Christinajvs. Omni
      Hotels Management Corporation; Envelope Number: 483581
      2 messages
                                                                                                              I     I
      efilingmail@tylerhost.net <efilingmail@tylerhost.net>                                         Tue, Feb 2·3, 2021 at 9:00 AM
      To: att~russell.moynihanlaw@gmail.com                                                                         I
                                                                                                                    I
                                                                                                                    I
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                                                                                                   Envelope Number: 483581
                                                                                                               1
                                                                                                Case Numbe r: 2181CV00396
                                                                                 Case: 2181CV00396 Ladany, Christiha vs. Omni
                                                                                              Hotels Management
                                                                                                            I
                                                                                                                  Corporation
                                               .                                                                i    I
        This is a n·otifiGation that the following document has been ACCEPTED for filing by the Clerk's Office. !You may access
        the file stamped copy of the document by ciicking the below link.                                            i,

                                                                                                                       I

                                                               Filing Details                                  I
                                                                                                               I
        Court                                Superior Courts                                                   I
        Date/Time Submitted                 2/22/2021 5:28 PM EST                                              I
                                                                                                               I
        Date/Time Accepted                   2/23/2021 8:59 AM EST                                             I
        Reviewer Comment                                                                                       I
        Filing Code                          Complaint Electronically Filed                                    I
        Page Count                           3                                                                 II
                                                                             /                                 I
        Submitted By                         Mark Russell                                                      I
        Submitting Attorney                  Daniel Moynihan                                                   I
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